Case 5:24-cr-00467-SLP Document62 _ Filed 06/13/25 Page1of1

IN THE UNITED STATES DISTRICT COURT FOR THE

WESTERN DISTRICT OF OKLAHOMA

UNITED STATES OF AMERICA,
Plaintiff,

-VS- No. CR-24-467-SLP

NASIR AHMAD TAWHEDI,
a/k/a Nasir Ahmad Azizi,
a/k/a “@Abu_Omir,”

Nee Nee Nee ee ee ee ee ee ee” ee” ee”

Defendant.

WAIVER OF JURY TRIAL

I, the undersigned defendant, having been fully advised of the charges against me
and of my rights in connection with the charges, do hereby waive those rights, including
my right to a trial by jury, and agree to enter a plea of guilty to the court as provided by
Rule 11 of the Fed. R. Crim. P.

Date: Sune F, 025

DEFENDANT

COUNSELOR DEFENDANT

J orrtces Fase

COUNSBH FOR GOVERNMEAT

vein LAL LMG

UNITED STATES DISTRICT JUDGE

